             Case 22-11068-JTD        Doc 1802-2      Filed 06/29/23    Page 1 of 1




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

____________________________________
In re:                                )           Chapter 11
                                      )
FTX TRADING LTD., et al.,             )           Case No. 22-11068 (JTD)
                                      )           (Jointly Administered)
      Debtors.                        )
_____________________________________ )


                                    NOTICE OF MOTION

         PLEASE TAKE NOTICE that on June 29, 2023, 101 Second Street, Inc. (“Landlord”),
 filed the Motion for Allowance and Payment of Administrative Claim Pursuant to 11 U.S.C.
 §§ 365(d)(3), 503(b)(1)(A) and 507(a) (the “Motion”) with the United States Bankruptcy Court
 for the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the entry of an order
 approving the Motion must be (a) in writing and served on or before July 12, 2023 at 4:00 p.m.
 (prevailing Eastern Standard Time) (the “Objection Deadline”); (b) filed with the Clerk of the
 United States Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington,
 Delaware 19801; and (c) served as to be received on or before the Objection Deadline by the
 undersigned attorneys for Landlord.

         PLEASE TAKE FURTHER NOTICE THAT only objections made in writing and timely
 filed and received, in accordance with the procedures above, will be considered by the Bankruptcy
 Court at such hearing.

       PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION WILL BE
 HELD ON JULY 19, 2023 AT 1:00 P.M. BEFORE THE HONORABLE JOHN T. DORSEY,
 AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,
 824 MARKET STREET, 5th FLOOR, COURTROOM 5, WILMINGTON, DELAWARE 19801.

      IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
 MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE
 OR HEARING.

 Dated: June 29, 2023                        /s/Garvan F. McDaniel
                                             Garvan F. McDaniel (DE Bar No. 4167)
                                             1311 Delaware Avenue
                                             Wilmington, Delaware 19806
                                             302.656.7540; 302.656.7599 (f)
                                             gfmcdaniel@dkhogan.com

                                             Attorney for Landlord
